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                    Exhibit C
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 KIERAN O’HARA, on behalf of himself and              Civil Action No. 1:15-cv-14139-MLW
 all others similarly situated individuals,

                         Plaintiff,                   DECLARATION OF JEANNE C.
 vs.                                                  FINEGAN, APR CONCERNING
                                                      IMPLEMENTATION OF CLASS
 DIAGEO BEER COMPANY USA &                            NOTICE
 DIAGEO NORTH AMERICA, INC.

                         Defendants.




I, Jeanne C. Finegan, declare and state as follows:


                                           INTRODUCTION

       1.      I am Managing Director and Head of Kroll Notice Media Solutions (“Kroll Media”)

an affiliate company of Kroll Settlement Administration (“Kroll”) f/k/a Heffler Claims Group

LLC. This Declaration is based upon my personal knowledge as well as information provided to

me by my associates and staff, including information reasonably relied upon in the fields of

advertising media and communications.

       2.      Pursuant to the Memorandum and Order dated June 28, 2021, Kroll Settlement

Administration (Heffler Claims Group) was appointed as the Settlement Administrator to provide

notification and claims administration services in O’Hara v. Diageo Beer Company USA, No. 15-

CV-14139 (D. Mass.), referred to herein as the “Settlement.” Accordingly, Kroll Media was

engaged by the Parties to this litigation to develop and implement a legal Notice Program as part

of the Parties’ class action settlement.

       3.      Pursuant to the Order, the purpose of this Declaration is to provide a report


                                                 1
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concerning the successful implementation of the Notice Program for this Settlement, which

commenced on July 28, 2021, and was substantially completed on August 26, 2021.

         4.       The Notice Program employed best-in-class tools and technology, (exceeding our

original projections of 74%) to reach an estimated 80 percent of targeted Settlement Class

Members in Massachusetts1, on average, four (4) times, with over 15,915,000 impressions2 served

through online display, search, social impressions. The digital campaign was served with cross-

device targeting on desktop and mobile. Ads were linked to the Settlement Website, where users

could also see the toll-free number.

                                    NOTICE PROGRAM SUMMARY

         5.       The Notice Program for this Settlement was designed to inform Settlement Class

Members of the class action settlement between Plaintiff and Defendants. Pursuant to the

Settlement Agreement, § 1.32, the Settlement Class is defined as: “all individuals who purchased

a six-pack or twelve-pack or Guinness Extra Stout in the Commonwealth of Massachusetts

between December 15, 2011 and September 3, 2015.                         The Settlement Class excludes any

individuals who purchased Guinness Extra Stout for resale, including distributors and retailers. In

addition, the following are excluded from the Settlement Class: (i) Defendants, (ii) any entity in

which Defendants have a controlling interest, (iii) Defendants’ officers, directors, legal

representatives, successors, subsidiaries, and assigns; and (iv) any individual who timely and

validly opts-out of the Settlement Class.”




1
  For the purpose of appropriately selecting media to reach this target, we reviewed media use against a broader target
of Guinness Stout consumers and Massachusetts. Here, we see a population of 185,000. Upon further refinement,
the Simmons-MRI definition of “Guinness Stout and Massachusetts and consumed beer at home, i,e,, not a bar or
restaurant” includes a population of 148,000. MRI does not separate out “Stout” from “Extra Stout,” so there is no
doubt that the measured audience for this program is over inclusive as the Extra Stout audience is likely smaller.
2
  An impression is an occurrence of a digital ad being served to a targeted audience. It is also called an “opportunity
to see” an ad.
                                                          2
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        6.       I am informed by the Parties that customer records and contact information to

utilize as part of a direct mail effort may not be complete, accurate, or reliable.

        7.       Therefore, in the absence of reasonably ascertainable Settlement Class Member

data (as is the case here), experts have commonly and reasonably relied upon data from highly

targeted media research bureaus such as MRI or comScore to calculate how many people (i.e,.

Settlement Class Members) were reached by the Notice Program. In advertising, this is commonly

referred to as a “Reach and Frequency” analysis, where “Reach” refers to the estimated percentage

of the unduplicated audience members exposed to the campaign, and “Frequency” refers to how

many times, on average, the target audience had the opportunity to see the message. These

calculations are used by advertising and communications firms worldwide and have become a

critical element to help provide the basis for determining adequacy of notice in class actions.

        8.       To this end, in developing the Notice Program, we were guided by well-established

principles of communication and utilized best-in-class nationally syndicated media research data

provided by Simmons/GfK (f/k/a GfK Mediamark Research and Intelligence, LLC),3 comScore,4

and Telmar, among others, to provide media consumption habits and audience delivery verification

of the potentially affected population. These data resources are used by advertising agencies

nationwide as the basis to select the most appropriate media to reach specific target audiences.

Specifically, this research identifies which media channels are favored by the target audience (i.e.,

the Settlement Class Members), for instance, browsing behaviors of the Internet and social media




3
  Simmons-GfK’s Survey of the American Consumer® (“MRI”) is the industry standard for magazine audience ratings
in the U.S. and is used in the majority of media and marketing agencies in the country. MRI provides comprehensive
reports on demographic, lifestyle, product usage and media exposure.
4
  ComScore is a global Internet information provider on which leading companies and advertising agencies rely for
consumer behavior insight and Internet usage data. ComScore maintains a proprietary database of more than 2 million
consumers who have given ComScore permission to monitor their browsing and transaction behavior, including online
and offline purchasing.
                                                        3
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channels that are used. The resulting key findings were instrumental in our selection of media

channels and outlets for determining the estimated net audience reached through this Notice

Program.

       9.      This media research technology allows us to fuse data and accurately report to the

Court the percentage of the target audience that was reached by the Notice Program and how many

times the target audience had the opportunity to see the Notice.

                     SUMMARY OF NOTICE PROGRAM ELEMENTS

       10.     Pursuant to the Court’s Order, the Notice Program included the following

components:

              Online display banner advertising specifically targeted to reach Settlement Class
               Members;

              Keyword Search targeting Settlement Class Members;

              Social media through Facebook, Instagram, and Twitter;

              An informational Settlement Website was established on which the Notice and
               other important Court documents are posted;

              A toll-free information line was established by which Settlement Class Members
               can call 24/7 for more information about the Settlement, including, but not limited
               to, requesting copies of the Long Form Notice.

                                KROLL ADMINISTRATIVE DUTIES

       11.     Kroll’s duties in this Settlement have and will include: (a) establishing a post office

box for the receipt of general mail and correspondence; (b) creating a Settlement Website with

online claim filing capabilities; (c) establishing a toll-free number with an Interactive Voice

Response (IVR); (d) preparing and sending Notice; (e) receiving and processing Opt-Outs and

Objections; (f) receiving and processing Claim Forms; and (g) such other tasks as counsel for the

Parties or the Court orders Kroll to perform.



                                                 4
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       12.     On July 7, 2021, Kroll obtained a post office box with the mailing address O’Hara

v. Diageo Beer Company USA, et al., c/o Kroll Settlement Administration, P.O. Box 225391, New

York, NY 10150-5391 in order to receive requests for claim forms and correspondence from

Settlement Class Members.

       13.     On July 7, 2021, Kroll created and is currently hosting a dedicated website entitled

http://www.mastoutsettlement.com. The website went live on July 28, 2021. The website contains

a summary of the Settlement, answers to frequently asked questions, court documents, contact

information, and allows Settlement Class Members the opportunity to file a Claim Form and Opt-

Out/Exclusion Request online. A screenshot of the website showing the court documents and other

features is attached hereto as Exhibit 1. As of September 24, 2021 there have been 36,700 users

have visited the website.

       14.     On July 7, 2021, Kroll established and is still maintaining a toll-free number, 1-

833-460-1724, for Settlement Class Members to call and obtain additional information regarding

the Settlement using an IVR system. To date, 16 Settlement Class Members have called the IVR.

       15.     On July 21, 2021, Kroll established and is still maintaining an email address,

info@MAStoutsettlement.com, for Settlement Class Members to submit Claim Forms and

inquiries regarding the Settlement.

       16.     On June 29, 2021, Kroll received Word versions of the Claim Form and Long Form

Notice from counsel. Kroll prepared and formatted drafts of the materials that counsel reviewed

and approved. True and correct copies of the Notice materials are attached hereto as Exhibit 2.

       17.     To date, Kroll has received and processed seven (7) Opt-Outs/Exclusion Requests

from the Settlement. The names of the individuals who requested exclusion from the Settlement

are attached hereto as Exhibit 3.


                                                5
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           18.      To date, Kroll has received zero (0) Objections to the Settlement.

           19.      To date, Kroll has received 69 Claim Forms via mail and 14,431 claims were filed

electronically through the Settlement Website. Of the claims received 14,367 were filed without

proof of purchase. These claims have been filed for a total of $92,882. A total of 133 claims have

been filed with proof of purchase for a total of $1,264.00. Therefore, the total dollar amount of

claims is $94,146.00. Settlement Class Members were provided a unique Class Member ID at the

time they filed their claim. This Class Member ID is required for Settlement Class Members to file

a claim online.

           20.      To identify potential claims from individuals outside the Settlement Class and to

prevent fraud, Kroll employs state-of-the-art technology and processes to analyze the claims

received. Kroll is still in the process of reviewing and validating claims.

                                                PUBLICATION NOTICE

           21.      In order to squarely focus on this target audience, we used four layers of online

    media targeting tactics 1) programmatic as they browse the web; 2) as they use search engines;

    3) as they visit social media sites social followers and fans; and 4) retargeting. All ads were

    geotargeted5 to the state of Massachusetts.

           Programmatic is a computerized approach to buying ads online, which uses an algorithm

    to show a specific ad to a specific visitor in a specific context, where Settlement Class Members

    may be visiting. These ads are device agnostic and will appear across desktop, laptop, or mobile

    device. Accordingly, we targeted beer drinkers, and more specifically, Guinness drinkers in

    Massachusetts via display ads. Ads were shown to the target audience as they browsed the

    web.



5
    Geotargeting serves ads to consumers based on their location and Internet Protocol (“IP”) address.
                                                            6
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         22.       On Facebook and Instagram, ads were targeted to people in Massachusetts

    who have liked or followed the Guinness or Open Gate Brewing social pages on Facebook

    and Instagram.

                  Guinness Facebook: 6.5M people like this

                  Guinness Instagram: 255K people follow this

                  Guinness Open Gate Brewery Facebook: 34K people like this

                  Guinness U.S. Instagram: 133K people follow this

         23.       Ads were also targeted to other pages such as Craft Beer Lovers, BeerAdvocate,

The BEER Heaven, and more.

         24.       On Twitter, the Notice Program targeted people in MA who follow or engage

with @GuinnessIreland and @GuinnessUS or use hashtags such as #Guinness,

#GuinnessExtraStout, #GuinnessTime, and similar.

         25.       Additionally, ads were retargeted 6 to users who visited the Settlement Website.

Retargeting works by utilizing cookies, or small bits of code stored by the web browser that

remembers users who visited the Settlement Website.

         26.       The online ads provided information for visitors to self-identify as potential

Settlement Class Members, where they could “click” on the banner and then link directly to the

Settlement Website for more information regarding the Settlement and important deadlines and

documents, including downloadable copies of the full Notice and Claim Form, and where they

could submit a Claim Form.




6
  Retargeting is a cookie-based technology dropped into a user’s browser upon visiting a website. When the user
browses other sites, the cookie will prompt ads to be served to that user where ever they may be visiting thus reminding
them to convert on the ad’s call to action, or file a claim.
                                                           7
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       27.     To further enhance this Notice Program, we employed Google keyword search

terms. When users searched for target phrases and keywords identified for this Notice Program

on Google’s search engine, links appeared on the search result pages. Representative key terms

included, but were not limited to: Guinness settlement, Guinness class action, Guinness, Guinness

Extra Stout, Guinness coupons, and more.

                                        CONCLUSION

       28.     In my opinion, the outreach efforts described above reflect a particularly

appropriate, highly targeted, and contemporary way to employ Notice to this Settlement Class.

Through a multi-media channel approach to Notice, which employed online display, search, and

social media, an estimated 80 percent of targeted Settlement Class Members were reached by the

media program, on average, four (4) times.

       29.     In my opinion, the efforts used in this Notice Program are of the highest modern

communication standards, are reasonably calculated to provide notice, and are consistent with best

practicable court-approved notice programs in similar matters and the Federal Judicial Center’s

guidelines concerning appropriate reach.

       I declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is

true and correct. Executed September 27, 2021, in Tigard, Oregon.



                                                            ____________________________




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                Exhibit 1
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            Exhibit 2
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*3122500000000*
      3122500000000
                                        CLAIM FORM AND INSTRUCTIONS
In order for you to qualify to receive a payment related to O’Hara v. Diageo Beer Company USA, as described in the
Notice of this Settlement (the “Settlement Notice”), you must file a Claim Form in the attached form either in paper or
electronically on the Settlement Website at www MAStoutsettlement.com to substantiate your claim.

                                  REQUIREMENTS FOR FILING A CLAIM FORM
Your claim will be considered only upon compliance with all of the following conditions:
1. You must accurately complete all required portions of the attached Claim Form.
2. You must sign this Claim Form, which includes the Certification. If you file a Claim Form electronically, your
electronic signature and submission of the form shall have the same force and effect as if you signed the form in hard copy.
3. By signing and submitting the Claim Form, you are certifying under penalty of perjury that: (1) that you purchased a
six-pack or twelve-pack of Guinness Extra Stout in Massachusetts between December 15, 2011 and September 3,
2015; (2) you were 21 years of age or older when you made such purchases of Guinness Extra Stout; (3) you are not an
officer, director, legal representative, successor, subsidiary, or assign of Diageo; and (4) you have not affirmatively opted-
out of the Settlement Class.
4. For a Settlement Class Member who submits a valid Claim Form without Proof of Purchase, but who submits
attestation of his or her purchase of Guinness Extra Stout in Massachusetts between December 15, 2011 and September 3,
2015 under penalty of perjury, Diageo shall pay $0.50 per six-pack (whether purchased as a six-pack or as part of a twelve-
pack) up to $10.00 per household.
5. For a Settlement Class Member who submits a valid Claim Form, along with Proof of Purchase establishing purchase
of Guinness Extra Stout in Massachusetts between December 15, 2011 and September 3, 2015, Diageo shall pay $0.50 per
six-pack (whether purchased as a six-pack or as part of a twelve-pack) up to $20.00 per household.
6. Proof of Purchase may take the following forms: (A) the receipt or invoice issued for your purchase of Guinness Extra
Stout; or (B) other documentation showing the actual price paid for the Guinness Extra Stout you purchased.
7. You have two ways to complete and submit a Claim Form: (A) you may MAIL the completed and signed Claim Form
and Certification by First Class U.S. Mail, postage prepaid, postmarked no later than October 26, 2021, to:

                                        O’Hara, et al. v. Diageo Beer Company USA, et al.
                                              c/o Kroll Settlement Administration
                                                          P.O. Box 225391
                                                   New York, NY 10150-5391

         OR (B) you may complete and submit the Claim Form and Certification using the Settlement Website at
www.MAStoutsettlement.com. If you file an electronic Claim Form and have Proof of Purchase, you must either send
your Proof of Purchase to the Settlement Administrator via e-mail at info@MAStoutsettlement.com or via U.S. Mail at
the Settlement Administrator’s address above.
8. Your failure to complete and submit the Claim Form using the Settlement Website by October 26, 2021, or by mail
postmarked by October 26, 2021, will preclude you from receiving any payment in this Settlement. If you submit by
mail, you are advised to use (but are not required to use) certified mail, return receipt requested so that you will have a
record of the date of mailing.
9. Members of the same household may only submit a single Claim Form.
Submission of this Claim Form does not assure that you will share in the payments related to O’Hara v. Diageo Beer
Company USA. If the Settlement Administrator determines that your claim may be invalid, the Settlement Administrator
may reject your claim subject to your right to present information to dispute the Settlement Administrator’s finding. For
more information on this process, see Paragraph 3 of the Settlement Agreement, which is available at
www.MAStoutsettlement.com.


*31225*                                               *CF*                                   *Page 1 of 3*
   31225                                                 CF                                          Page 1 of 3
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     *3122500000000*
             3122500000000
                                             O’Hara v. Diageo Beer Company USA
                                                          CLAIM FORM
Please print or type

I,                                                    , state as follows:



LAST NAME/Entity (Claimant)*                                          FIRST NAME (Claimant)*

___ ___ / ___ ___ / ___ ___ ___ ___
Date of Birth (MM/DD/YYYY)*


Current Address*

                                                                ____ ____         ____ ____ ____ ____ ____
Current City*                                                   State*                   Zip Code*



Telephone Number (Day)(optional)                                Telephone Number (Night)(optional)

                                                            @
E-mail Address*

IDENTITY OF CLAIMANT (Check appropriate box)

  Individual  Legal Representative (attach information showing authority to submit claim)
  Other (specify, describe on separate sheet) _______________________________________
                                                       CERTIFICATIONS*
I have read and am familiar with the contents of the Instructions accompanying this Claim Form, and I certify under penalty of perjury
that the information I have set forth in the foregoing Claim Form and in documents attached by me are true, correct, and complete to
the best of my knowledge.
I certify that:
     1. I purchased one or more six-packs of Guinness Extra Stout (whether purchased as a six-pack or as part of a twelve-pack) in
           Massachusetts between December 15, 2011 and September 3, 2015;
     2. I was 21 years of age or older when I made such purchases of Guinness Extra Stout;
     3. I am not an officer, director, legal representative, successor, subsidiary, or assign of Diageo; and
     4. I have not affirmatively opted-out of the Settlement Class.

A picture of the Guinness Extra Stout 6-pack outer packaging and 12-pack outer packaging are shown below:




*31225*                                                   *CF*                                     *Page 2 of 3*
     31225                                                   CF                                             Page 2 of 3
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*3122500000000*
      3122500000000

I purchased the following Guinness Extra Stout in Massachusetts between December 15, 2011 and September 3, 2015:*

                  Product                           Qty                  City/State                Month/Year
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
       Guinness Extra Stout
                                           _____6-Pack
       Guinness Draught
                                           _____12-Pack
       Guinness Foreign Extra Stout
I certify under penalty of perjury under the laws of the United States of America that all of the information provided
on this Claim Form is true and correct to the best of my knowledge this ____day of ___________________, 2021.*


        Signature*                                                                                Date*

________________________________________________
       Printed Name*
If the Claimant is other than an individual, or if the Claimant is not the person completing this form, the following must
also be provided:

Name of person signing: ______________________________________ Date:

Capacity of person signing: _______________________________________
(Executor, President, Trustee, etc.)
ACCURATE CLAIMS PROCESSING TAKES TIME. THANK YOU FOR YOUR PATIENCE.
Reminder Checklist:
    1. Please sign the above Claim Form.
    2. Enclose a copy of your Proof(s) of Purchase, if you have them, along with the Claim Form.
    3. Keep a copy of your Claim Form and supporting documentation for your records.
If you move or your name changes, please send your new address, new name or contact information to Kroll Settlement
Administration via the Settlement Website, mail, or by calling the Settlement Administrator’s toll-free telephone number,
each listed in the Notice.
*Fields or Sections are Required to be Completed.

*31225*                                              *CF*                                 *Page 3 of 3*
   31225                                                  CF                                      Page 3 of 3
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             United States District Court for the District of Massachusetts
       Kieran O’Hara v. Diageo Beer Company USA & Diageo North America, Inc.,
                             Case No. 15-cv-14139-MLW


     If You Previously Purchased Guinness Extra Stout, You
    May Be Eligible to Get $0.50 per Six-Pack, Up to $20 (with
      Proof of Purchase) or $10 (without Proof of Purchase),
                 From a Class Action Settlement
      A federal court authorized this notice. This is not a solicitation from a lawyer.

●    Settlement Reached — A Settlement has been reached in a class action lawsuit. A
     purchaser of Guinness Extra Stout beer sued Defendants, Diageo Beer Company USA
     (formerly Diageo-Guinness USA, Inc.) and Diageo North America, Inc. (collectively,
     “Diageo” or “Defendants”), alleging generally that Diageo labeled and advertised Guinness
     Extra Stout beer as being produced and imported from Ireland when, in fact, it was
     produced and imported from Canada. Diageo denies any wrongdoing. The Court has not
     decided who is right. The Parties agreed to the proposed Settlement to resolve the lawsuit.

●    Eligibility — You are eligible to participate in this Settlement if you purchased a six-
     pack or twelve-pack of Guinness Extra Stout in Massachusetts between December 15,
     2011 and September 3, 2015, inclusive. This excludes individuals who purchased
     Guinness Extra Stout for resale, including distributors and retailers. It also excludes
     Diageo, any entity in which Diageo has a controlling interest, Diageo’s officers, directors,
     legal representatives, successors, subsidiaries, or assigns; and any individual who timely
     and validly opts-out from the Settlement Class. To receive payment under the Settlement,
     you must submit a Claim Form. Settlement Class Members who do not opt-out of the
     Settlement will be bound by the Settlement even if they do not submit Claim Forms.

●    Without Proof of Purchase — For a Settlement Class Member who submits a valid Claim
     Form without Proof of Purchase, but who submits attestation of his or her purchase of
     Guinness Extra Stout in Massachusetts between December 15, 2011 and September 3, 2015
     under penalty of perjury, Diageo shall pay $0.50 per six-pack (whether purchased as a six-
     pack or as part of a twelve-pack) up to a total of $10.00 per household.

●    With Proof of Purchase — For a Settlement Class Member who submits a valid Claim
     Form, along with Proof of Purchase establishing purchase of Guinness Extra Stout in
     Massachusetts between December 15, 2011 and September 3, 2015, Diageo shall pay $0.50
     per six-pack (whether purchased as a six-pack or as part of a twelve-pack) up to $20.00 per
     household.




                    Questions? Visit www.MAStoutsettlement.com
               or contact the Settlement Administrator at 1-833-460-1724
                                          -1-
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                  Please read this Notice carefully and in its entirety.
        Your rights may be affected by the Proposed Settlement of this Lawsuit,
                 and you have a choice to make now about how to act:


                        YOUR LEGAL RIGHTS AND OPTIONS

                            A Settlement has been reached in a class action lawsuit. The lawsuit
                            brought claims of misrepresentation and violations of the
    WHAT IS THIS?           Massachusetts consumer protection law, alleging that Guinness
                            Extra Stout was labeled and advertised as produced and imported
                            from Ireland when, in fact, it was produced and imported from
                            Canada. Diageo denies any wrongdoing.
                            This is the only way to receive a monetary payment from the
                            proposed Settlement. By remaining in the Settlement, whether or
SUBMIT A CLAIM FORM
                            not you submit a claim, you will give up any rights to sue Diageo
   BY OCT. 26, 2021
                            separately about the same legal claims in this lawsuit. Claim Forms
                            are available at www.MAStoutsettlement.com. For more detail
                            about the claim process, please see questions 5, 6 and 7 below.
                            You have the right to exclude yourself from or “opt-out” of the
                            proposed Settlement. If you opt-out of the proposed Settlement, you
                            will not be eligible to receive the monetary payment, but you will
     EXCLUDE                keep your right to sue Diageo about the same legal claims in this
YOURSELF/OPT-OUT BY
                            lawsuit. Opt-Out Requests must be electronically submitted or
    SEPT. 20, 2021
                            postmarked by Sept. 20, 2021 and mailed to O’Hara, et al. v. Diageo
                            Beer Company USA, et al. c/o Kroll Settlement Administration, P.O.
                            Box 225391, New York, NY 10150-5391. For more detail about
                            opting-out of the Class, please see questions 9 and 11 below.
                            You may write to the Court about why you do, or do not, like the
                            Settlement. You must remain in the class to comment in support of
 OBJECT OR COMMENT
                            or in opposition to the Settlement. Objections and comments must
   BY SEPT. 20, 2021
                            be filed with the Court and served on the Parties by Sept. 20, 2021.
                            For more detail about objecting or commenting, please see
                            questions 10 and 11 below.
                            You may ask to speak in Court about the fairness of the Settlement.
                            Written notice of your intent to appear in the lawsuit must be filed
APPEAR IN THE LAWSUIT       with the Court and served on the Parties by Sept. 20, 2021. You may
 OR ATTEND A HEARING
                            enter your appearance in Court through an attorney at your own
     ON OCT. 7, 2021
                            expense if you so desire. For more detail about appearing in this
                            lawsuit or attending the final hearing, please see questions 10, 14,
                            15 and 16 below.
                            By doing nothing, you will not receive the monetary payment. You
     DO NOTHING             will also give up any rights to sue Diageo separately about the same
                            legal claims in this lawsuit.



                   Questions? Visit www.MAStoutsettlement.com
              or contact the Settlement Administrator at 1-833-460-1724
                                         -2-
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     ●      Your rights and options — and the deadlines to exercise them — are further explained
            in this notice. The Court in charge of this case has the authority to alter any deadlines set
            forth below for good cause shown.

     ●      The Court in charge of this case still has to decide whether to approve the Settlement. The
            Class Benefit (i.e., the monetary payments described herein) will be made available if the
            Court approves the Settlement, and after any appeals are resolved, if they are resolved in
            favor of settlement approval.

     ●      If you have any questions, please read on and/or visit www.MAStoutsettlement.com.

                                         BASIC INFORMATION

1.       Why did I get this notice?
If you purchased a six-pack or twelve-pack of Guinness Extra Stout beer in Massachusetts between
December 15, 2011 and September 3, 2015, as described on page 1 of this Notice, you have a right to
know about the proposed Settlement of a class action lawsuit and your options. You may have received
this Notice because you requested more information after reading the Settlement Website. If the Court
approves it, and if objections and all appeals are resolved in favor of settlement approval, a Settlement
Administrator approved by the Court will oversee the distribution of the Class Benefits that the proposed
Settlement allows. You will be informed of the progress of the proposed Settlement on the settlement
website.
This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who is
eligible for them, and how to get them. Judge Mark L. Wolf of the United States District Court for the
District of Massachusetts is overseeing the lawsuit, which is known as O’Hara v. Diageo North America,
Case No. 15-cv-14139. The person who sued is called the Plaintiff, and the companies he sued, Diageo
Beer Company USA (formerly Diageo-Guinness USA, Inc.) and Diageo North America, Inc., are called
the Defendants.

2.       What is this lawsuit about?
This lawsuit alleges generally that Guinness Extra Stout was labeled and advertised as produced and
imported from Ireland when, in fact, it was produced and imported from Canada. Diageo denies any
wrongdoing. The Court has not determined which side is right. Rather, the Parties have agreed to settle
the lawsuit to avoid the uncertainties, expenses, and expenditure of resources associated with ongoing
litigation.

3.       What is a class action and who is involved?
In a class action lawsuit, one or more people called “class representatives” (in this case, the Plaintiff,
Kieran O’Hara) sue on behalf of other people who have similar claims. The people together are a “class”
or “class members.” The class members here are referred to as “Settlement Class Members,” because this
class is being certified for settlement purposes only. The named Plaintiff who sued — and all the
Settlement Class Members like them — are called the Plaintiffs. The companies they sued (in this case,
Diageo) are called the Defendants. One court resolves the issues for everyone in the Class — except for
those people who choose to opt-out of the Class.

4.       Am I part of this Class?
If you purchased a six-pack or twelve-pack of Guinness Extra Stout beer in Massachusetts between
December 15, 2011 and September 3, 2015, inclusive, then you are a Settlement Class Member.


                           Questions? Visit www.MAStoutsettlement.com
                      or contact the Settlement Administrator at 1-833-460-1724
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                                THE SETTLEMENT BENEFITS
5.     What does the Settlement provide?
Monetary Relief. Under the proposed Settlement, for Settlement Class Members who submit a valid
Claim Form, along with Proof of Purchase establishing purchase of Guinness Extra Stout in Massachusetts
between December 15, 2011 and September 3, 2015, Diageo will pay $0.50 per six-pack (whether
purchased as a six-pack or as part of a twelve-pack) up to $20.00 per household.

For Settlement Class Members who submit valid Claim Forms without Proof of Purchase, but who submit
attestation of the Claimant’s purchase of Guinness Extra Stout in Massachusetts between December 15,
2011 and September 3, 2015 under penalty of perjury, Diageo will pay $0.50 per six-pack (whether
purchased as a six-pack or as part of a twelve-pack) up to $10.00 per household.

The Parties have further agreed that Diageo will pay the costs to administer this proposed Settlement,
reasonable attorneys’ fees, costs, and expenses, and a payment to the named Plaintiff (see question 13
below). A detailed description of the settlement benefits can also be found in the Settlement Agreement
available at www.MAStoutsettlement.com.

6.     When will I get my monetary payment?
The hearing to consider the fairness of the Settlement is scheduled for Oct. 7, 2021. If the Court approves
the Settlement, then eligible Settlement Class Members whose claim were approved by the Settlement
Administrator will receive their payment 30 days after the Settlement has been finally approved and/or
after any appeals process is complete. The payment will be made in the form of electronic payment or
check.
                      HOW TO GET THE SETTLEMENT BENEFITS
7.     How do I get my monetary payment?
If you are a Settlement Class Member and want to receive a payment under the Settlement, you must
complete and submit a Claim Form no later than Oct. 26, 2021. Claims Forms can be found and submitted
online or postmarked by Oct. 26, 2021. To submit a Claim Form online or to request a paper copy, go to
www.MAStoutsettlement.com or call toll free, 1-833-460-1724.

                                YOUR RIGHTS AND OPTIONS
8.     What happens if I do nothing at all?
If you do nothing, then you will remain in the Class and not receive any payment from this Settlement. If
the Court approves the Settlement, you will be bound by its terms, you will no longer have the ability to
sue with respect to the claims being resolved by the Settlement, and your claims will be released and
dismissed.
The Settlement Agreement describes the released claims in more detail, so please read it carefully. If you
have any questions, you can contact the lawyers listed in question 10 for free to discuss, or you can talk to
another lawyer of your own choosing if you have questions about what this means.

9.     How do I opt-out of the Settlement?
You have the right to opt-out of the Settlement. If you don’t want a payment from the settlement but want
to keep the right to sue on your own, you must request exclusion from, or “opt-out” of, the Settlement
Class. The Court will exclude from the class any member who requests exclusion or opts-out.


                          Questions? Visit www.MAStoutsettlement.com
                     or contact the Settlement Administrator at 1-833-460-1724
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If you opt-out of the Settlement, you won’t get any money or benefits from the Settlement. However, you
may then be able to separately sue or continue to sue Diageo for the legal claims that arc the subject of the
lawsuit. If you bring your own lawsuit against Diageo after you opt-out of the Settlement, you will have
to hire your own lawyer for that lawsuit, and you will have to prove your claims.

To opt-out of the Settlement, you must submit a written Opt-Out Request electronically through the
settlement website at www.MAStoutsettlement.com or by mail, stating that you “want to opt-out of the
Settlement in O’Hara v. Diageo Beer Company USA, Case No. 15-14139.” Your written Opt-Out Request
must also include your name, current address, and telephone number. And the request must be signed and
dated by you. Your Opt-Out Request must be submitted electronically via the settlement website by Sept.
20, 2021 or mailed and postmarked on or before Sept. 20, 2021 to:
                             O’Hara, et al. v. Diageo Beer Company USA, et al.
                                   c/o Kroll Settlement Administration
                                               P.O. Box 225391
                                        New York, NY 10150-5391
If you request exclusion or opt-out, you will not get any settlement payment and you cannot object to the
settlement. You will not be legally bound by anything that happens in the lawsuit.

10.     How do I object to the Settlement?
If you are a Settlement Class Member, you can object to the Settlement if you don’t like any part of it.
You can give reasons why you think the Court should not approve the Settlement. The Court will consider
your views.
To object, you must file with the Court a written Objection entitled “Objection to Class Settlement in
O’Hara v. Diageo Beer Company USA, Case No. 15-14139” that identifies all the reasons for your
objections and any legal and factual support for those reasons.

Your written Objection must also include your name, address, telephone number, and email address if
available, and it must state information showing that you are a Settlement Class Member (i.e. Proof of
Purchase or a verification under penalty of perjury as to the date and location of your Guinness Extra Stout
purchase(s)). It must also state if you are represented by legal counsel, and if so, provide contact
information for your lawyer, including his or her email address if available.
If you intend to appear and speak at the Final Fairness Hearing to object to the Settlement, with or without
a lawyer (explained below in questions 14, 15 and 16), you must also state your intention to appear in
your written Objection.
You must file your written Objection with the Court by mailing it to the address below, and you must mail
a copy to Class Counsel and Defendants’ Counsel. Your Objection must be postmarked no later than Sept.
20, 2021:
              Court                          Class Counsel                    Defendants’ Counsel

 The Hon. Mark L. Wolf              Kevin McCullough                   Samuel A. Danon
 United States District Court for   FORREST, MAZOW,                    HUNTON ANDREWS KURTH LLP
 the District of Massachusetts      MCCULLOUGH, YASI & YASI,           Wells Fargo Center
 John Joseph Moakley U.S.           P.C.                               Suite 2400
 Courthouse                         Two Salem Green, Suite 2           333 SE 2nd Avenue
 1 Courthouse Way, Suite 2300       Salem, MA 01970                    Miami, FL 33131
 Boston, Massachusetts 02210        (877) 599-8890                     (305) 810-2500
                                    kmccullough@forrestlamothe.com     sdanon@huntonak.com



                            Questions? Visit www.MAStoutsettlement.com
                       or contact the Settlement Administrator at 1-833-460-1724
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11.    What is the difference between objecting and opting-out of the Settlement?
Objecting means telling the Court that you don’t like something about the Settlement. You can object
only if you stay in the Class. Excluding yourself or opting out of the Settlement means that you do not
want to be part of the Class. If you opt-out, then you have no basis to object to the Settlement because the
case no longer affects you.


                           THE LAWYERS REPRESENTING YOU
12.    Do I have a lawyer in this case?
The Court appointed the law firm of Forrest, Mazow, McCullough, Yasi & Yasi, P.C. to represent the
Plaintiff and all Settlement Class Members as “Class Counsel.” Below is contact information for Class
Counsel:
                                      Kevin McCullough
                     FORREST, MAZOW, MCCULLOUGH, YASI & YASI, P.C.
                                  Two Salem Green, Suite 2
                                      Salem, MA 01970
                                       (877) 599-8890
                               kmccullough@forrestlamothe.com

Class Counsel believe, after conducting an extensive investigation, that the Settlement is fair, reasonable,
and in the best interests of the Settlement Class Members. You will not be charged for these lawyers. If
you want to be represented by a different lawyer in this case, you may hire one at your own expense.

13.    How will the lawyers be paid?
In addition to the monetary benefit to be paid to the Settlement Class Members, Diageo has agreed to pay
Class Counsel’s fees, costs, and expenses in an amount to be determined by the Court not to exceed
$1,500,000. The Court may award less than this amount. Any fees, costs, and expenses that are awarded
to Class Counsel will be paid separately by Diageo and in addition to the monetary benefits to Settlement
Class Members. This payment will not deplete the funds made available to Settlement Class Members.

Also, subject to approval by the Court, Diageo has agreed to pay $7,500 to the Settlement Class
Representative, in recognition of his efforts on behalf of the Settlement Class Members throughout this
case.

      THE COURT’S FINAL FAIRNESS HEARING FOR THE SETTLEMENT
14.    Where and when will the Court decide whether to approve the Settlement?
The Court will hold the Final Fairness Hearing on Oct. 7, 2021 at 11:00 am in Courtroom 2 before Judge
Wolf at the John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300 Boston, Massachusetts
02210.

The purpose of the hearing will be for the Court to determine whether to approve the Settlement as fair,
reasonable, adequate, and in the best interests of the Class; to consider Class Counsel’s request for
attorneys’ fees, costs, and expenses; and to consider the request for the Service Award to the Settlement
Class Representative. At that hearing, the Court will be available to hear any Objections and arguments
concerning the fairness of the Settlement.


                          Questions? Visit www.MAStoutsettlement.com
                     or contact the Settlement Administrator at 1-833-460-1724
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The hearing may be postponed to a different date or time without notice, so please check
www.MAStoutsettlement.com or call 1-833-460-1724 from time to time. If, however, you timely objected
to the Settlement and advised the Court that you intend to appear and speak at the Final Fairness Hearing,
you will receive notice of any change in the time and date of such hearing.

15.    Do I have to come to the Final Fairness Hearing?
No. You do not need to attend the Final Fairness Hearing. Class Counsel will answer any questions the
Court may have on behalf of the Settlement Class Members. However, you are welcome to attend the
Final Fairness Hearing at your own expense. If you submit an Objection or comment, you do not have to
come to Court to talk about it. As long as you filed and mailed your written Objection on time, the Court
will consider it. You may also pay to have another lawyer attend on your behalf, but that is not required.

16.    May I speak at the Final Fairness Hearing?
Yes. You may ask the Court for permission to speak at the Final Fairness Hearing. To do so, you must
include in your written Objection to the Settlement a statement saying that it is your intent to appear at the
Final Fairness Hearing in O’Hara v. Diageo Beer Company USA, Case No. 15-14139. Your written
Objection and notice of intent to appear must be filed with the Court and postmarked no later than Sept.
20, 2021, and sent to the addresses listed in question 10.


                               GETTING MORE INFORMATION
17.    Are more details available?
This Notice summarizes the Settlement. More details are in the Settlement Agreement, which can be
found at www.MAStoutsettlement.com. You may also write with questions to O’Hara, et al. v. Diageo
Beer Company USA, et al. c/o Kroll Settlement Administration, P.O. Box 225391 New York, NY 10150-
5391. You can also call the Settlement Administrator at 1-833-460-1724 or Class Counsel at 877-599-
8890, if you have questions.




                           Questions? Visit www.MAStoutsettlement.com
                      or contact the Settlement Administrator at 1-833-460-1724
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             EXHIBIT 3
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Exclusion Report


 First Name   Last Name            City
 Monica       Almy        New Bedford
 Nathan       Dayberry    Kent
 Aja          Ramos       Attleboro
 Anais        Garcia      Spring Hill
 Sandra       Caldwell    Theodore
 Stacey       Celarie     Selma
 Asena        Vaai        Tulsa
